     Case 96-00114          Doc 22      Filed 11/22/20 Entered 11/22/20 23:11:41                   Desc Imaged
                                       Certificate of Notice Page 1 of 3
Form NTCFTFC7

                                   United States Bankruptcy Court
                                               Northern District of Illinois
                                                    Eastern Division
                                                    219 S Dearborn
                                                       7th Floor
                                                   Chicago, IL 60604


In Re:
                                                                Case No.
                                                                :         96−00114
Joseph Samuel Catalano
4807 W Newport                                                  Chapter : 7
Chicago, IL 60641                                               Judge :   David D. Cleary
SSN: xxx−xx−2986 EIN: N.A.
aka Joseph Bruno




Debtor's Attorney:                                               Trustee:
Marc W Sargis                                                    James E Carmel ESQ
7366 N Lincoln Ave Ste 206                                       Carmel & Marcus Ltd
Lincolnwood, IL 60646                                            Pob 1254
                                                                 Highland Park, IL 60035
847−763−0980
                                                                 847−559−9145

                            NOTICE FIXING TIME FOR FILING CLAIMS
To the Debtor(s), Creditors, and other Parties in Interest:

A petition under Chapter 7 of the U.S. Bankruptcy Code has been filed by (or against) the above−named debtor(s) on
January 3, 1996 .

1. February 22, 2021 is fixed as the last day for the filing of claims by creditors other than governmental units.
2. February 22, 2021 is fixed as the last day for the filing of claims by governmental units.

In order to have a claim allowed and share in any distribution from the estate, a creditor must file a claim, whether or
not the creditor was included in the schedules filed by the debtor(s). Claims which are not filed on or before the date
fixed as the last day for the filing of claims as specified in #1 and #2 above, will not be timely, except as otherwise
provided by law.

Attorneys must file this claim electronically via the CM/ECF system. Non−Attorneys may file in person or by
mail at the Clerk of the Bankruptcy Court's address shown at the top of the form. A Proof of Claim form
("Official Form B 410") can be obtained at the United States Courts Web site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerks office.

                                                              For the Court,


Dated: November 20, 2020                                      Jeffrey P. Allsteadt , Clerk
                                                              United States Bankruptcy Court
           Case 96-00114                Doc 22          Filed 11/22/20 Entered 11/22/20 23:11:41                                     Desc Imaged
                                                       Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                               Northern District of Illinois
In re:                                                                                                                 Case No. 96-00114-DDC
Joseph Samuel Catalano                                                                                                 Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 0752-1                                                  User: corrinal                                                              Page 1 of 2
Date Rcvd: Nov 20, 2020                                               Form ID: ntcftfc7                                                         Total Noticed: 18
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 22, 2020:
Recip ID                   Recipient Name and Address
db                     +   Joseph Samuel Catalano, 4807 W Newport, Chicago, IL 60641-3557
aty                    +   Marc W Sargis, 7366 N Lincoln Ave Ste 206, Lincolnwood, IL 60712-1739
tr                     +   James E Carmel, ESQ, Carmel & Marcus Ltd, Pob 1254, Highland Park, IL 60035-7254
1187303                +   AMERITECH CELLULAR, POB 4764, CHICAGO, IL 60680-4764
1187301                +   BRADY, JAMES A, C/O LAWRENCE STARK, 221 N LASALLE ST #3200, CHICAGO, IL 60601-1512
1187299                +   BUTERA FOODS, C/O JON R HAWKS, 7301 OHMAS RD #535, MINNEAPOLIS, MN 55439-2367
1187291                    CAPITOL BANK & TRUST, 4801 W FULLERTON, CHICAGO, IL 60639
1187297                +   CUB FOODS, C/O MERCHANTS CREDIT, 223 W JACKSON, CHICAGO, IL 60606-6908
1187298                +   DOMINICKS FINER FOODS, C/O MERCHANTS CREDIT, 223 W JACKSON, CHICAGO, IL 60606-6908
1187300                +   GEOCARIS, JAMES A, 505 E GOLF RD F2, ARLINGTON HEIGH, IL 60005-4088
1187295                +   HARVEYS, POB 128, STATELINE, NV 89449-0128
1187302                +   ILLINOIS BELL, C/O HARVARD COLLECTION, 4700 W IRVING PARK RD, CHICAGO, IL 60641-2701
1187294                +   MIDLAND FINANCE CO, 7541 N WESTERN AVE, CHICAGO, IL 60645-1510
1187296                +   OUR LADY OF RESURRECTION, C/O BLATT & HASENMILLER, 111 W JACKSON, CHICAGO, IL 60604-3589
1187305                    PEOPLES GAS, THE PRUDENTIAL BLDG ATTENTION:, SPECIAL PROJECTS,130 E RANDOLPH DR, CHICAGO, IL 60601-6207
1187293                +   TCF FINANCIAL, POB 1501, MINNEAPOLIS, MN 55480-1501

TOTAL: 16

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
1187304                + EDI: ATTWIREBK.COM
                                                                                        Nov 21 2020 03:48:00      ILLINOIS BELL TELEPHONE, LAW
                                                                                                                  DEPARTMENT STE 27A, 225 W RANDOLPH
                                                                                                                  ST, CHICAGO, IL 60606-1839
1187292                    EDI: AGFINANCE.COM
                                                                                        Nov 21 2020 03:48:00      AMERICAN GENERAL, 200 W ADAMS ST,
                                                                                                                  CHICAGO, IL 60606

TOTAL: 2


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.
           Case 96-00114             Doc 22         Filed 11/22/20 Entered 11/22/20 23:11:41                               Desc Imaged
                                                   Certificate of Notice Page 3 of 3
District/off: 0752-1                                             User: corrinal                                                        Page 2 of 2
Date Rcvd: Nov 20, 2020                                          Form ID: ntcftfc7                                                   Total Noticed: 18

Date: Nov 22, 2020                                       Signature:          /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 20, 2020 at the address(es) listed
below:
Name                            Email Address
Adam G. Brief
                                on behalf of U.S. Trustee Patrick S Layng Adam.Brief@usdoj.gov

David P Leibowitz, ESQ
                                dleibowitz@lodpl.com il64@ecfcbis.com;dl@trustesolutions.com;dl@trustesolutions.net;ECF@lodpl.com


TOTAL: 2
